                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

JOSHUA GARTON,                               )
                                             )
        Plaintiff,                           )
                                             )
v.                                           )     Case No. 3:21-cv-00338
                                             )     Judge Aleta A. Trauger
W. RAY CROUCH, et al.,                       )
                                             )
        Defendants.                          )



                                NOTICE OF APPEARANCE


        Senior Assistant Attorney General Meghan Murphy hereby provides notice of her

appearance on behalf of Defendant Andrew Vallee, in his individual capacity.


                                           Respectfully submitted,

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                                           Attorney General and Reporter

                                           /s/ Meghan Murphy
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies on January 31, 2022, a true and accurate copy of the
foregoing was filed electronically and sent by way of the Court’s electronic filing system to:

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